       Case: 3:08-cr-00075-bbc Document #: 12 Filed: 04/21/08 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN
__________________________________________________________________________________

UNITED STATES OF AMERICA,

                                   Plaintiff,
                                                                        ORDER
       v.
                                                                      08-mj-019-slc
FIDEL HOLGUIN,

                                Defendant.
__________________________________________________________________________________

       On April 21, 2008, this court held a detention hearing. Defendant Fidel Holguin was

present with his attorney, Tracey Wood. The government was represented by Assistant

United States Attorney David Reinhard.

       After hearing arguments, I signed a release order. Defendant waived a probable cause

hearing and shall answer in the district court. Assuming the grand jury returns a true bill,

the arraignment has been set for May 15, 2008 at 10 a.m. Defendant waived time limits

for an indictment. The parties had no other matters to bring to the court’s attention.

       Entered this 21st day of April, 2008.

                                          BY THE COURT:


                                          /s/
                                          THERESA M. OWENS
                                          Magistrate Judge
